Case 1:18-cv-07291-VSB-RWL Document 22-8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Filed 12/27/18 Page 1 of 2

AVALON HOLDINGS CORP.,
Index No.:|/No. 18-Civ-7291-VSB
Plaintiff,
Vv. AFFIDAVIT
GUY GENTILE and
MINTBROKER INTERNATIONAL, LTD.
Defendants.

 

 

AFFIDAVIT OF MINTBROKER INTERN
IN SUPPORT OF ITS MOTION 9
I, ANTONIO COLLIE, PRESIDENT of MintBroker Interna
sworn, hereby, under risk of penalty and perjury, do solemn
affirm:
L In or about June 29, 2018, MBI, a Bahamas-based cc
shares in New Concept Energy Inc.. a Dallas-Texas-based e
with cash.
ze On Friday, June 29, 2018, MBI timely reported its p
3 The following Monday, which was after MBI placed
but (MBI now believes) before some or all of the trades sett

began to rise. Believing that most of the shares MBI attemp

individuals who did not actually have possession of the shar

ATIONAL LIMITED
‘Oo DISMISS
tional, Ltd (Bahamas) being duly

y. Sincerely, and truly declare and

ympany, placed several orders for

hergy company, buying the stock

urchases by filing an SEC Form 3.
its orders and paid for the shares,
ed, the price of New Concept Stock
ted to purchase were sold by

es, 1.e., a “naked short sale” and

fearing that the trades it entered the previous week would fail to settle because the sellers did not

have the shares to deliver, MBI exited the position. As a re:

took possession of some or all of the shares it purchased pri

sult, it is unclear whether MBI ever

pr to the weekend.

 

 
Case 1:18-cv-07291-VSB-RWL Document 22-8 | Filed 12/27/18 Page 2 of 2

4. MBI properly filed its Form 13D disclosing that it did not own more than 5% of NCE
shares.
5. In or about July 27, 2018, MBI placed several orders for shares in Avalon Holding Corp.
an Ohio-based waste management company.
6. However, by the afternoon on July 27, the price of Avalon Class A shares was rising and

MBI became concerned that is had placed orders that had been filled electronically by market

makers selling naked short, raising the possibility of failed trades.

Dated: December 20. 2018

Sworn to before me this
a OFiay of December 2018

 

far]

 

Notary Public cette

 
